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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


Cynthia Constantino-Gleason           ,

                              Plaintiff,                       STIPULATION
                                                          SELECTION OF MEDIATOR
              v.

NYS Unified Court System, et al. ,

                              Defendant.



       IT HEREBY IS STIPULATED AND AGREED, by and between counsel for all parties

to this action, that Kenneth A. Manning     , Esq. has been selected, contacted and has

agreed to serve as Mediator for this action.

       IT IS FURTHER STIPULATED AND AGREED, in consultation with the Mediator,

that the initial mediation session will be held on 2022    at Kenneth Manning's office .

       IT IS FURTHER STIPULATED AND AGREED that counsel will participate in the

mediation session in good faith and confer with the Mediator regarding the scheduling of

additional conference(s), bearing in mind the deadline for the completion of ADR set forth

in the Court’s Scheduling Order.

Dated: Feb. 11, 2022



s/Joseph A. DeTraglia
___________________________                s/David J. Sleight
                                           ________________________________
   Counsel for Plaintiff(s)                      Counsel for Defendant(s)




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